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   9

  10                        UNITED STATES DISTRICT COURT
  11                       CENTRAL DISTRICT OF CALIFORNIA
  12    RACHEL STOVER, on behalf of              CASE NO. 8:18-CV-00826-CJC-
        herself and others similarly situated,   DFM
  13
                        Plaintiffs,              Assigned to: Judge Cormac J. Carney
  14
              v.                                 DEFENDANTS’ NOTICE OF
  15
        EXPERIAN HOLDINGS, INC.;                 MOTION AND MOTION TO
  16    EXPERIAN INFORMATION                     COMPEL INDIVIDUAL
        SOLUTIONS, INC.; and                     ARBITRATION AND STAY, OR
  17    CONSUMERINFO.COM, INC. dba
        EXPERIAN SERVICES                        IN THE ALTERATIVE, DISMISS
  18                                             ACTION
                        Defendants.
  19
                                                 [Filed concurrently with Declarations
  20                                             of David Williams and Edward
  21
                                                 Chang, and Request for Judicial
                                                 Notice]
  22

  23
                                                 Date: October 29, 2018
                                                 Time: 1:30 p.m.
  24                                             Dept.: 9B
  25
                                                 Complaint filed: May 11, 2018
  26

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  28
                                                      DEFENDANTS’ MOTION TO COMPEL ARBITRATION
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   1         TO ALL PARTIES AND THEIR COUNSEL OF RECORD, PLEASE
   2   TAKE NOTICE that, on October 29, 2018 at 1:30 p.m., or as soon thereafter as the
   3   parties may be heard, in Courtroom 9B of the United States District Court for the
   4   Central District of California, located at 411 West Fourth Street, Santa Ana,
   5   California, 92701-4516, defendants Experian Holdings, Inc. (“EHI”), Experian
   6   Information Solutions, Inc. (“EIS”), and ConsumerInfo.com, Inc. (“CIC”)
   7   (collectively, “Defendants”) will, and hereby do, move this Court for an order
   8   compelling Plaintiff Rachel Stover (“Plaintiff”) to submit her claims to binding
   9   arbitration and for an order staying all proceedings pending arbitration, or in the
  10   alternative, dismissing this lawsuit with prejudice.
  11         The Motion is made pursuant to the Federal Arbitration Act (“FAA”), 9
  12   U.S.C. §§ 1 et seq., and on the grounds that Plaintiff agreed to binding individual
  13   arbitration of Plaintiff’s disputes with Defendants. Moreover, pursuant to 9 U.S.
  14   Code § 3 and Federal Rules of Civil Procedure 12(b)(1) and 12(b)(3), Defendants
  15   move to stay the instant proceedings pending completion of the arbitration of this
  16   matter, or to dismiss this entire action for lack of subject matter jurisdiction and
  17   improper venue.
  18         This Motion is based on this Notice of Motion and Motion, the supporting
  19   Memorandum of Points and Authorities and the Declarations of David Williams
  20   and Edward Chang filed concurrently herewith, the accompanying Request for
  21   Judicial Notice, and all pleadings and papers on file in this action, together with
  22   such further evidence and argument as may be submitted in responsive briefing and
  23   at oral argument.
  24         This motion is made following the conference of counsel pursuant to Local
  25   Rule 7-3, which was conducted on July 19, 2018.
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   1
        Dated: August 24, 2018              /s/ Richard J. Grabowski
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   7                                        Holdings, Inc.; Experian Information
                                            Solutions, Inc.; and ConsumerInfo.com,
   8                                        Inc.
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   1                                 I.     INTRODUCTION
   2         On June 17, 2014, Plaintiff Rachel Stover went to the website
   3   www.experian.com and accepted an offer where she paid $1 for an Experian credit
   4   report, a PLUS Score credit score, and a 7-day trial membership in the Experian
   5   Credit Tracker credit monitoring product, which transitioned into a monthly
   6   membership if Plaintiff did not cancel during the trial period. When Stover placed
   7   the order, she and Defendant ConsumerInfo.com, Inc. (“CIC”)—which is owned by
   8   Defendant Experian Holdings, Inc. (“EHI”) and is an affiliated entity of Defendant
   9   Experian Information Solutions, Inc. (EIS)—entered into a written agreement to
  10   arbitrate “all disputes and claims” between Stover and CIC, or any of CIC’s parent
  11   entities (such as EHI), subsidiaries, or affiliates (such as EIS):
  12
                    CIC and you agree to arbitrate all disputes and claims
  13                between us, except any disputes or claims which under
                    governing law are not subject to arbitration. This
  14
                    agreement to arbitrate is intended to be broadly interpreted
  15                and to make all disputes and claims between us subject to
                    arbitration to the fullest extent permitted by law. . . . .
  16

  17
                    For purposes of this arbitration provision, references to
  18                “CIC,” “you,” and “us” shall include our respective parent
                    entities, subsidiaries, affiliates, agents, employees,
  19
                    predecessors in interest, successors and assigns, websites
  20                of the foregoing, as well as all authorized or unauthorized
                    users or beneficiaries of services, products or information
  21
                    under this or prior Agreements between us.
  22                Notwithstanding the foregoing, either party may bring an
                    individual action in small claims court. You agree that, by
  23
                    entering into this Agreement, you and CIC are each
  24                waiving the right to a trial by jury or to participate in a class
  25
                    action. This Agreement evidences a transaction in
                    interstate commerce, and thus the Federal Arbitration Act
  26                governs the interpretation and enforcement of this
  27
                    arbitration provision. This arbitration provision shall
                    survive termination of this Agreement.
  28
                                                            DEFENDANTS’ MOTION TO COMPEL ARBITRATION
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   1   (Declaration of David Williams (“Williams Decl.”), Ex. D (emphasis added).) Stover
   2   further agreed to pursue such claims only on an individual (i.e., non-class) basis. (Id.)
   3   Pursuant to Stover’s written agreement, Defendants hereby elect to arbitrate all of the
   4   claims that Stover pleads in this action—claims that are specifically grounded upon
   5   her transaction with CIC.1
   6          Thus, under the Federal Arbitration Act (9 U.S.C. § 1, et seq.), Defendants
   7   EHI, EIS, and CIC respectfully move this Court for an Order compelling this matter
   8   to arbitration, on an individual basis, before the American Arbitration Association
   9   (AAA), as required under Stover’s written agreement, and staying this action,
  10   pursuant to 9 U.S.C. § 3 pending Plaintiff’s compliance with the contractual
  11   arbitration agreement, or alternatively dismissing this action under Federal Rules of
  12   Civil Procedure 12(b)(1) and 12(b)(3).
  13                               II.    STATEMENT OF FACTS
  14          A.     PLAINTIFF’S ALLEGATIONS
  15          Stover pleads that Defendant EHI “is a privately held corporation with its
  16   headquarters in Costa Mesa, California,” and that Defendants EIS and CIC are
  17   “wholly owned subsidiary[ies]” of EHI, which also are headquartered in Costa Mesa.
  18   (Compl. ¶¶ 22-24.) Stover fails to allege what actions any particular Defendant took,
  19   but merely claims that all acts alleged were done by “Defendants” or “Experian,”
  20   which she defines to include all Defendants. (Id., ¶ 1.)
  21          Stover alleges that “Defendants” sold “Experian Credit Scores” online and,
  22   from May 11, 2010 to the present, falsely advertised that these credit scores were
  23   accurate, reliable, widely used, and “the same credit scores relied upon by lenders.”
  24   1
         Stover claims—four years after her purchase of the above products—that Defendants deceived
       her by stating that PLUS Scores “were the same credit scores relied upon by lenders,” and brings
  25   her claims based upon these alleged misrepresentations. (Dkt No. 1 (“Compl.”), ¶¶ 2, 45-91.)
       Stover’s allegations cannot be squared with the express language in the Terms and Conditions
  26   which state that the PLUS Score “is not used by lenders.” (Williams Decl., ¶ 13, Ex. D.) The
       terms also advised consumers that the Experian credit report obtained from CIC through this
  27   website is not a consumer disclosure pursuant to 15 U.S.C. § 1681g of the FCRA. (Id., ¶ 12, Ex.
       D.) Nevertheless, Stover alleges that the products she purchased do not comply with the FCRA.
  28   (Compl. ¶¶ 45-64.)
                                                               DEFENDANTS’ MOTION TO COMPEL ARBITRATION
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    1   (Id., ¶¶ 2, 8.) She alleges that these scores “are not the credit scores used by the vast
    2   majority of lenders” because they are not FICO scores.2 (Id., ¶ 5.) As a result, the
    3   scores are “vastly inferior, inaccurate, and of little value to consumers.” (Id.)
    4          Stover alleges that she purchased “one or more Experian Credit Scores,
    5   including an Experian Credit Score on or about June 17, 2014,” and made this
    6   purchase “based upon the representations that the Experian Credit Scores were those
    7   used by lenders.” (Id., ¶¶ 12-13.) Stover alleges three nationwide class claims. First,
    8   she alleges (without any facts) that all Defendants are consumer reporting agencies,
    9   and that they violated 15 U.S.C. § 1681g(f)(7)(A) of FCRA because they supplied
   10   her with credit scores that are not “derived from a credit scoring model that is widely
   11   distributed to [lenders] by [Experian] in connection with residential real property
   12   loans,” and scores that do not “assist the consumer in understanding the credit scoring
   13   assessment of the credit behavior of the consumer and predictions about the future
   14   credit behavior of the consumer,” because the scores are not FICO scores. (Id., ¶¶
   15   56-57.) Second, Stover, a Florida resident (Id., ¶ 11), pleads the first of two claims
   16   entitled “Violation of Unfair Competition Law, California Bus. & Prof. Code § 17200
   17   et seq.,” alleging that Defendants’ sale and marketing of Experian Credit Scores
   18   constitute unlawful, unfair, and fraudulent acts in violation of the California Unfair
   19   Competition Law (“UCL”).3 (Id., pg. 13, ¶¶ 70-74.) Finally, Stover pleads the
   20   second “Violation of Unfair Competition Law, California Bus. & Prof. Code § 17200
   21   et seq.” claim, pleading that Defendants violated the “Florida Deceptive and Unfair
   22
        2
   23     FICO, also known as Fair, Isaac and Company, is a data analytics company that, like many other
        companies, creates and sells credit scores. While numerous credit scores exist in the market, and
   24   indeed companies that create and provide credit scores may have multiple models that are utilized,
        FICO has historically held the highest market share for sales of consumer credit scores to lenders.
   25   https://www.consumerfinance.gov/ask-cfpb/what-is-a-fico-score-en-1883/
        3
          Courts have repeatedly recognized a general “presumption against extraterritorial application” of
   26   California state law, including the UCL. See, e.g., Sullivan v. Oracle Corp., 51 Cal. 4th 1191, 1207
        (2011) (“Neither the language of the UCL nor its legislative history provides any basis for
   27   concluding the Legislature intended the UCL to operate extraterritorially”). In the event the Court
        denies this jurisdictional motion, Defendants will move to dismiss this claim and Stover’s other
   28   improperly pled claims under Rule 12 pursuant to its previous reservation of rights. (Dkt. No. 23.)
                                                                  DEFENDANTS’ MOTION TO COMPEL ARBITRATION
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    1   Trade Practices Act” by falsely advertising that “the Experian Credit Scores were
    2   used by the majority of United States Lenders, when they were not.” (Id., pg. 15, ¶¶
    3   81, 85.) Stover seeks damages, declaratory relief, and an injunction to enjoin
    4   Defendants “from continuing to engage in its unfair, unlawful and fraudulent conduct
    5   alleged” in the Complaint (i.e., the sale and marketing of the PLUS Scores).4
    6          B.     PLAINTIFF’S AGREEMENT TO ARBITRATE
    7          To obtain the credit report, PLUS Score, and Experian Credit Tracker
    8   membership from CIC, Plaintiff had to click a button demonstrating her assent to be
    9   bound by CIC’s Terms and Conditions:
   10

   11

   12

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   16
        (Williams Decl., ¶¶ 4-8, Exs. B-C.) At the time of Plaintiff’s transaction, CIC’s

   17
        Terms and Conditions appeared as a full-text hyperlink on every page of CIC’s order

   18
        process, including during the information entry process in the graphic above. (See

   19
        id.) A full-text hyperlink to the Terms and Conditions also is contained within the

   20
        disclosure and acknowledgement directly above the “Submit Secure Order” button.

   21
        (Id.) The disclosure and acknowledgment specifically advised Plaintiff that by

   22
        clicking the “Submit Secure Order,” she was agreeing to CIC’s Terms and

   23
        Conditions:

   24                 Click “Submit Secure Order” to agree to the Terms and
                      Conditions, acknowledge receipt of our Privacy Notice
   25
                      and Ad Targeting Policy and agree to its terms, and
   26
        4
          Stover’s request for injunctive relief must necessarily fail, because Experian no longer markets
   27   these credit scores, and has been marketing FICO scores to consumers since late 2014. (Williams
        Decl. ¶¶ 17-18.) Sun Microsystems, Inc. v. Microsoft Corp., 188 F.3d 1115, 1123 (9th Cir. 1999)
   28   (Plaintiff cannot obtain an injunction under the UCL for past conduct).
                                                                 DEFENDANTS’ MOTION TO COMPEL ARBITRATION
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    1                confirm your authorization for ConsumerInfo.com, Inc., an
                     Experian ® company, to obtain your credit score and report
    2                and submit your secure order.
    3   (Id.) To complete her transaction, Stover clicked the “Submit Secure Order” button,
    4   thus agreeing to be bound by CIC’s Terms and Conditions. (Id.)
    5         The Terms and Conditions on CIC’s website began by admonishing Stover—
    6   in ALL CAPS—that she should “PLEASE READ THESE TERMS AND
    7   CONDITIONS CAREFULLY,” and that, if she did not wish to be bound by them,
    8   “DO NOT ORDER.” (Id. at ¶ 9, Ex. D.) Nonetheless, Stover placed an order with
    9   CIC, see Compl. at ¶ 12; Williams Decl., ¶ 16, and thus, agreed to the Terms and
   10   Conditions applicable to that purchase.
   11         The Terms and Conditions that Stover agreed to had a mandatory arbitration
   12   agreement. (Id. at ¶ 10, Ex. D.) Pursuant to that agreement, Stover and CIC agreed
   13   “to arbitrate all disputes and claims between us . . . to the fullest extent permitted by
   14   law.” (Id.) This agreement to arbitrate extends to CIC’s “parent entities, subsidiaries,
   15   [and] affiliates . . . .” (Id.) EHI is a parent entity of CIC, and EIS is an affiliated
   16   entity of CIC. (Id. at ¶ 2 and Ex. A.) In fact, Stover pleads as much. (Compl. ¶¶ 22-
   17   24 (alleging that EIS and CIC is each a “wholly-owned subsidiary of” EHI)) Stover
   18   also pleads that EHI, EIS, and CIC are the same entity. (Id., ¶¶ 1, 6, 8, 9 (defining
   19   all Defendants as “Experian,” and alleging they all charge customers for inaccurate
   20   credit scores and mislead customers by falsely stating these are the same credit scores
   21   used by lenders.) Stover further agreed that she would arbitrate her claims against
   22   EHI, EIS, and CIC on an individual basis: “YOU AND CIC AGREE THAT EACH
   23   MAY BRING CLAIMS AGAINST THE OTHER ONLY IN YOUR OR ITS
   24   INDIVIDUAL CAPACITY, AND NOT AS A PLAINTIFF OR CLASS MEMBER
   25   IN ANY PURPORTED CLASS OR REPRESENTATIVE PROCEEDING.”
   26   (Williams Decl., ¶ 11, Ex. D.)
   27         After the arbitration agreement, the Terms and Conditions advised Stover of
   28   the nature of the PLUS Score, which is the subject of her lawsuit:
                                                           DEFENDANTS’ MOTION TO COMPEL ARBITRATION
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    1                PLUS SCORE®
                     The PLUS Score, with scores ranging from 330 to 830, is
    2                a user-friendly credit score model developed by Experian
    3                to help you see and understand how lenders view your
                     credit worthiness. It is not used by lenders, but it is
    4                indicative of your overall credit risk.
    5
        (Id. at ¶ 13 and Ex. D.) The Terms and Conditions also advised the consumer that
    6
        the credit report being offered by CIC is not a “consumer disclosure” pursuant to
    7
        Section 1681g of the FCRA:
    8

    9                The credit report you are requesting from CIC is not
                     intended to constitute the disclosure of Experian
   10                information required by the FCRA or similar state laws.
   11                Experian’s National Consumer Assistance Center provides
                     a proprietary consumer disclosure that is different from the
   12                consumer credit report provided by CIC. This disclosure
   13                report must be obtained directly from Experian by going to
                     www.experian.com/dispute, or by calling 888-
   14                EXPERIAN.
   15   (Id. at ¶ 12 and Ex. D) Finally, the Terms and Conditions have a severability
   16   provision, which provides:      “If any provision is deemed to be unlawful or
   17   unenforceable, it will not affect the validity and enforceability of the remaining
   18   provisions.” (Id., Ex. D.)
   19         Numerous consumers, like Stover, that have purchased credit reports, credit
   20   scores, or credit monitoring products from CIC have invoked the same arbitration
   21   agreement contained in the same Terms and Conditions applicable to CIC’s
   22   consumer credit products against EIS. (Id., ¶ 15.) In fact, since 2015, at least twenty
   23   arbitration demands have been instituted against EIS before the AAA arising out of
   24   these Terms and Conditions. (See Declaration of Edward Chang, ¶ 2.) In other
   25   words, not only do consumers in Stover’s shoes understand that, in transacting with
   26   CIC, they are agreeing to arbitrate disputes with EIS and EHI, but consumers
   27   routinely invoke that arbitration agreement. (Id.)
   28
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    1         C.     CASES ENFORCING THESE TERMS AND CONDITIONS
    2         As demonstrated in the accompanying Request for Judicial Notice (RJN), the
    3   same or substantially similar Terms and Conditions that are at issue in this motion
    4   have been upheld and enforced by courts in this district in numerous other cases in
    5   which Defendants have filed motions to compel arbitration:
    6         • Johnson v. ConsumerInfo.com, Inc., C.D. Cal. Case No. CV 11-02753-JVS
    7              (FMOx) (August 3, 2011). (RJN, Ex. A.)
    8         • Winzen v. Experian Information Solutions, Inc., C.D. Cal. Case No. SACV
    9              10-01783-JVS (RZx) (September 12, 2011). (RJN, Ex. B.)
   10         • Waring v. ConsumerInfo.com, Inc., C.D. Cal. Case No. SACV 11-0639-
   11              JVS (FMOx) (November 14, 2011). (RJN, Ex. C.)
   12         • Bird v. ConsumerInfo.com, Inc., C.D. Cal. Case No. SACV 11-0618-JVS
   13              (FMOx) (November 14, 2011). (RJN, Ex. D.)
   14         • Grosz v. ConsumerInfo.com, Inc., C.D. Cal. Case No. SACV 11-0550-JVS
   15              (FMOx) (November 14, 2011). (RJN, Ex. E.)
   16         • Possin v. Experian Information Solutions, Inc., C.D. Cal. Case No. SACV
   17              10-00156-JVS (ANx) (December 5, 2011). (RJN, Ex. F.)
   18   See also DeVries v. Experian Information Solutions, Inc., No. 16-cv-02953-WHO,
   19   2017 WL 733096 (N.D. Cal. Feb. 24, 2017). To grant this motion, this Court need
   20   do nothing more than follow these other district court cases.
   21                              III.   LEGAL ARGUMENT
   22         The Federal Arbitration Act provides that a written arbitration provision
   23   contained in a “contract evidencing a transaction involving commerce . . . shall be
   24   valid, irrevocable and enforceable, save upon such grounds as exist at law or in equity
   25   for the revocation of any contract.” 9 U.S.C. § 2. The FAA reflects both a “liberal
   26   federal policy favoring arbitration, and the fundamental principle that arbitration is a
   27   matter of contract.” AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 1745 (2011)
   28   (citations and internal quotation marks omitted). In passing the FAA, Congress
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    1   established a strong federal policy in favor of arbitration, Moses H. Cone Mem’l
    2   Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983), “notwithstanding any state
    3   substantive or procedural policies to the contrary.” Id.; see also Tompkins v.
    4   23andMe, Inc., 840 F.3d 1016, 1022 (9th Cir. 2016). In short, the Supreme Court
    5   and Ninth Circuit mandates that federal courts are required to “rigorously enforce
    6   agreements to arbitrate,” Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 221
    7   (1985), and “as a matter of federal law, any doubts concerning the scope of arbitrable
    8   issues should be resolved in favor of arbitration ....” Moses, 460 U.S. at 24-25;
    9   Tompkins, 840 F.3d at 1022.
   10         Given the strong federal policy favoring arbitration, a court adjudicating the
   11   question of arbitrability plays a very limited role. It determines only: (1) whether
   12   the parties entered into a valid arbitration agreement, and (2) whether the agreement
   13   encompasses the dispute at issue. Chiron Corp. v. Ortho Diagnostic Sys., Inc., 207
   14   F.3d 1126, 1130 (9th Cir. 2000). As demonstrated below, Stover entered into a valid
   15   arbitration agreement, and the claims that Stover pleads in this case fall squarely
   16   within the arbitration agreement.
   17         A.     STOVER AGREED TO THE TERMS AND CONDITIONS,
   18                WHICH CONTAIN A BINDING ARBITRATION AGREEMENT
   19         Stover is bound by the Terms and Conditions, including the agreement
   20   obligating her to arbitrate, on an individual basis, any claims against CIC or its parent
   21   and affiliated entities, such as EHI and EIS. (Williams Decl., ¶¶ 4-8, 16, Exs. B-D.)
   22   “While new commerce on the Internet has exposed courts to many new situations, it
   23   has not fundamentally changed the principles of contract.” Nguyen v. Barnes &
   24   Noble, Inc., 763 F.3d 1171, 1175 (9th Cir. 2014), quoting Register.com, Inc. v. Verio,
   25   Inc., 356 F.3d 393, 403 (2d Cir. 2004). “[U]nder California law, mutual assent is a
   26   required element of contract formation.” Knutson v. Sirius XM Radio Inc., 771 F.3d
   27   559, 565 (9th Cir. 2014). “Mutual assent may be manifested by written or spoken
   28   words, or by conduct and acceptance of contract terms may be implied through action
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    1   or inaction.” Id. (internal citations and quotation marks omitted); see also Specht v.
    2   Netscape Commc’ns Corp., 306 F.3d 17, 29 (2d Cir. 2002) (applying California law
    3   to an online contract).
    4         Courts within this Circuit routinely enforce internet agreements where, as here:
    5   (1) “the user is required to affirmatively acknowledge the agreement before
    6   proceeding with use of the website,” or (2) “the website puts a reasonably prudent
    7   user on inquiry notice of the terms of the contract,” which “depends on the design
    8   and content of the website and the agreement’s webpage.” Nguyen, 763 F.3d at 1176-
    9   77; see also RJN, Exs. A-F. Under California law, “a party cannot avoid the terms
   10   of a contract on the ground that he or she failed to read it before signing.” Marin
   11   Storage & Trucking, Inc. v. Benco Contracting & Eng’g, Inc., 89 Cal. App. 4th 1042,
   12   1049 (2001). As a matter of law, Stover agreed to the Terms and Conditions because
   13   she had clear notice of the Terms and Conditions, and she was required to
   14   “affirmatively acknowledge the agreement before proceeding with” her purchase of
   15   the products, including the PLUS Score that is the subject of her lawsuit. See Nguyen,
   16   763 F.3d at 1176-77; DeVries, 2017 WL 733096 at *6-7 (upholding the same
   17   Experian Terms and Conditions acceptance protocol because “[t]he text containing
   18   the Terms and Conditions hyperlink was located directly above that button and
   19   indicated that clicking ‘Submit Secure Purchase’ constituted acceptance of those
   20   terms”). See also RJN, Exs. A-F.
   21         In addition to the five Central District of California district court decisions
   22   attached to the accompanying Request for Judicial Notice, the Northern District of
   23   California’s decision in DeVries, 2017 WL 733096, is on all fours—it upheld the
   24   arbitration provision in CIC’s Terms and Conditions that were presented to
   25   consumers in the exact same manner as they were presented to Stover in this case.
   26   In DeVries, the plaintiff brought a class action lawsuit against EIS under the FCRA,
   27   alleging that EIS failed to provide consumers with their annual free credit reports and
   28   instead steered consumers towards paid credit reports. The credit report that the
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    1   plaintiff purchased was sold by CIC and required the plaintiff to assent to the Terms
    2   and Conditions of the purchase, including arbitration of his claims against CIC and
    3   its affiliates like EIS. The Court rejected the plaintiff’s argument that he did not
    4   consent to or have notice of the arbitration provision, and found that Experian’s
    5   process—presenting the text containing the Terms and Conditions hyperlink directly
    6   above the “Submit Secure Purchase” button and indicating that clicking the button
    7   constituted acceptance of those Terms and Conditions—was sufficient to provide the
    8   consumer with adequate notice and bind him to the agreement. Id. at *6. The exact
    9   same procedure was presented to Stover in this case, and it is equally enforceable.
   10         The DeVries court was persuaded by yet another case from this district that is
   11   on all fours, Graf v. Match.com, LLC, No. CV 15-3911 PA (MRWx), 2015 WL
   12   4263957 (C.D. Cal. July 10, 2015). There, the district court ruled that users of
   13   Match.com’s website agreed to an arbitration provision in the Terms of Use
   14   “when they clicked on a ‘Continue’ or other similar button on the registration page
   15   where it was explained that by clicking on that button, the user was affirming that
   16   they would be bound by the Terms of Use, which were always hyperlinked and
   17   available for review.” Id. at *4. Just as in Graf, the Terms and Conditions at issue
   18   here were hyperlinked at the bottom of every page of the order process on the
   19   website; they were expressly referenced in the disclosure and acknowledgment at the
   20   end of the information entry process located above the “Submit Secure Order” button;
   21   and the disclosure and acknowledgment stated that by clicking the button, “Submit
   22   Secure Order,” the online user was accepting the Terms and Conditions. (Williams
   23   Decl. ¶¶ 4-8.) See also Tompkins v. 23andMe, Inc., No. 5:13-CV-05682-LHK, 2014
   24   WL 2903752, *7-9 (N.D. Cal. June 25, 2014) (same; finding “Plaintiffs received
   25   adequate notice regarding the [Terms of Service] . . . [when] each named Plaintiff
   26   clicked a box or button that appeared near a hyperlink to the [Terms of Service] to
   27   indicate acceptance”).
   28         Crawford v. Beachbody, LLC, No. 14cv1583-GPC(KSC), 2014 WL 6606563
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    1   (S.D. Cal. Nov. 5, 2014), also is indistinguishable from the facts at hand. There, the
    2   district court found that the plaintiff had agreed to a forum selection clause found in
    3   a website’s Terms and Conditions. Just like here, the plaintiff in Crawford “had to
    4   click an orange button that read ‘PLACE ORDER.’” Id. at *3. Above the button the
    5   following text was presented to the plaintiff: “By clicking Place Order below, you
    6   are agreeing that you have read and understand the Beachbody Purchase Terms and
    7   Conditions, and Team Beachbody Terms and Conditions.” Id. Just like here, “[t]he
    8   terms ‘Terms and Conditions’ were in blue font while the rest of the language in the
    9   sentence was in grey font, which was hyperlinked to the full text of the Terms and
   10   Conditions.” Id.
   11         Fteja v. Facebook, Inc., 841 F. Supp. 2d 829 (S.D.N.Y. 2012) also is
   12   indistinguishable from the facts at hand.         There, Facebook.com had disclosed:
   13   “By clicking Sign Up, you are indicating that you have read and agree to the Terms
   14   of Service.” 841 F.Supp.2d at 835. Stover likewise was warned: By clicking the
   15   button, “Submit Secure Order,” she was accepting the Terms and Conditions.
   16   See also Swift v. Zynga Game Network, Inc., 805 F.Supp.2d 904, 911 (N.D. Cal.
   17   2011) (enforcing terms of use because “Plaintiff admits that she was required to and
   18   did click on an ‘Accept’ button directly above a statement that clicking on the button
   19   served as assent to the [website’s] terms of service along with a blue hyperlink
   20   directly to the terms of service”).
   21         In short, by disclosing to users they are agreeing to the Terms and Conditions,
   22   and requiring affirmative action by the user to assent to those terms, the Terms and
   23   Conditions applicable to Stover’s purchase are thus agreed to and enforceable. In
   24   fact, the Ninth Circuit in Nguyen found that these types of online agreements are
   25   “consistently enforced.” 763 F.3d at 1176. Therefore, Stover agreed to be bound by
   26   the arbitration provision found in the Terms and Conditions, and, hence, an
   27   agreement to arbitrate exists between Stover and Defendants. See Graf, 2015 WL
   28   4263957, at *4.
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    1         B.     STOVER’S CLAIMS ARE COVERED BY THE ARBITRATION
    2                AGREEMENT CONTAINED IN THE TERMS AND
    3                CONDITIONS
    4         All of Stover’s claims are covered by the arbitration agreement contained in
    5   the Terms and Conditions. That agreement is broad in scope, and covers “all disputes
    6   and claims” between Stover and CIC, as well as CIC’s parent and affiliated entities,
    7   such as EHI and EIS. Indeed, in order to state a claim against EHI and EIS, Stover
    8   pleads that Defendants are one and the same entity—alleging that “Experian,”
    9   defined to include EHI, EIS, and CIC, injured her by selling her credit scores that are
   10   not used in the vast majority of lending decisions. (Compl., ¶¶ 1, 12, 15, 17, 19.)
   11   And, it cannot be legitimately debated that this suit relates to Stover’s purchase of
   12   PLUS Score credit scores from CIC.         After all, Stover’s claims are expressly
   13   grounded upon this very transaction. (Id. at ¶¶ 56-58 (alleging that Defendants
   14   harmed her by providing her with Experian Credit Scores that are not derived from a
   15   scoring model that is widely distributed to lenders or that assist her in understanding
   16   the credit scoring assessment of her credit behavior); id. at ¶¶ 72-74 (alleging that
   17   Defendants harmed her by making false and misleading representations that “the
   18   Experian Credit Scores were used by the majority of United States lenders,” which
   19   she then relied on); and id. at ¶¶ 85-88 (same).) Moreover, in order to state claims
   20   against EIS and EHI, Stover specifically pleads that EHI owns EIS and CIC, and that
   21   they are all one and the same entity—alleging that EIS and CIC are “wholly owned
   22   subsidiar[ies]” of EHI, who all have their headquarters in Costa Mesa. (Compl. ¶¶
   23   22-24.) Stover’s own allegations and the plain language of the arbitration provision
   24   confirm that her claims against EHI and EIS are also subject to arbitration.
   25         Agreements to arbitrate “[a]ny dispute, controversy or claim” are “broad and
   26   far reaching,” Chiron Corp., 207 F.3d at 1131, and require arbitration of all disputes
   27   that “touch matters covered by the contract containing the arbitration clause,” Simula,
   28   Inc. v. Autoliv, Inc., 175 F.3d 716, 721 (9th Cir. 1999). All of Stover’s claims touch
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    1   upon matters contained in the Terms and Conditions. Indeed, and again, her $1.00
    2   purchase of a credit report and PLUS Score from CIC and her one month membership
    3   in Experian Credit Tracker forms the basis of all of her claims in this matter. In short,
    4   the Court must decide “whether the agreement encompasses the dispute at issue,” see
    5   Chiron, 207 F.3d at 1130—which Stover pleads it does—and, “as a matter of federal
    6   law, any doubts concerning the scope of arbitrable issues should be resolved in favor
    7   of arbitration,” Moses, 460 U.S. at 24-25; see also United Commc’ns Hub, Inc. v.
    8   Qwest Commc’ns, Inc., 46 F. App’x 412, 413 (9th Cir. 2002) (“The [arbitration]
    9   clause uses the phrase ‘relating to,’ which has a broad and inclusive meaning.”);
   10   Cayanan v. Citi Holdings, Inc., 928 F.Supp.2d 1182, 1208 (S.D. Cal. 2013)
   11   (explaining that inclusion of “relating to” language required a broader interpretation
   12   of the arbitration clause); Brown v. DIRECTV LLC, No. CV 12-08382 DMB (Ex),
   13   2013 WL 3273811, at *6 (C.D. Cal. Jun. 26, 2013) (holding that claims against
   14   DIRECTV “fall within the scope of the arbitration clause” because all claims
   15   “relating to” the customer agreement were subject to arbitration).
   16         Because each of Stover’s claims falls squarely within the scope of the
   17   arbitration agreement contained in the Terms and Conditions—which broadly
   18   requires the arbitration of “all disputes and claims”—the Court should compel this
   19   matter to arbitration.
   20         C.     ARBITRATION SHOULD PROCEED ON AN INDIVIDUAL
   21                BASIS
   22         Stover must arbitrate her claims on an individual basis. The Terms and
   23   Conditions contain an explicit class waiver: “YOU AND CIC AGREE THAT EACH
   24   MAY BRING CLAIMS AGAINST THE OTHER ONLY IN YOUR OR ITS
   25   INDIVIDUAL CAPACITY, AND NOT AS A PLAINTIFF OR CLASS MEMBER
   26   IN ANY PURPORTED CLASS OR REPRESENTATIVE PROCEEDING.”
   27   (Williams Decl., ¶ 11 and Ex. D.) Class waivers in arbitration provisions are
   28   enforceable. See Murphy v. DirecTV, Inc., 724 F.3d 1218, 1225 (9th Cir. 2012)
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    1   (citing Concepcion, 563 U.S. 333 (2011)).
    2         D.     THE COURT SHOULD DISMISS THIS ACTION OR, IN THE
    3                ALTERNATIVE, STAY THIS ACTION
    4         Because Stover’s claims are all subject to arbitration and Stover failed to bring
    5   her claims in the contractually mandated arbitral forum, the Court should not just
    6   grant the motion to compel arbitration but should exercise its discretion to dismiss
    7   all the claims with prejudice, under Rules 12(b)(1) or 12(b)(3). As the Ninth Circuit
    8   has held, “a district court may either stay the action or dismiss it outright when, as
    9   here, the court determines that all of the claims raised in the action are subject to
   10   arbitration.” Johnmohammadi v. Bloomingdale’s, Inc., 755 F.3d 1072, 1074 (9th Cir.
   11   2014), citing Sparling v. Hoffman Constr. Co., 864 F.2d 635, 638 (9th Cir. 1988).
   12   See also Luna v. Kemira Specialty, Inc., 575 F. Supp. 2d 1166, 1176 (C.D. Cal. 2008)
   13   (“[E]ven where a party moves to stay litigation pending arbitration under the [FAA],
   14   the district court has discretion to dismiss the complaint if it finds all of the claims
   15   before it are arbitrable”). Because the parties agreed to individually resolve any
   16   disputes in an arbitral forum, and because Stover failed to bring her claims in that
   17   forum, venue is improper and the Court lacks subject matter jurisdiction. Stover’s
   18   claims should therefore be dismissed with prejudice under Rules 12(b)(1) and
   19   12(b)(3) with directions that if Stover pursues her claims at all, she must do so in
   20   individual, non-class arbitration, as she is contractually bound to do. See Argueta v.
   21   Banco Mexicano, S.A., 87 F.3d 320, 324 (9th Cir. 1996).
   22         Even if the Court does not dismiss Stover’s claims upon compelling arbitration
   23   of them, it must at minimum stay this action pending completion of arbitration
   24   proceedings. Under 9 U.S.C. § 3, the court, in any action “referable to arbitration
   25   under an agreement in writing . . . upon being satisfied that the issue involved in such
   26   suit or proceeding is referable to arbitration under such an agreement, shall on
   27   application of one of the parties stay the trial of the action until such arbitration has
   28   been had in accordance with the terms of the agreement.” The stay provision is
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    1   mandatory. 9 U.S.C. § 3.
    2                                 IV.   CONCLUSION
    3         Defendants EHI, EIS and CIC respectfully request that the Court grant this
    4   Motion to Compel Arbitration, and stay this case, pursuant to 9 U.S.C. § 3, pending
    5   compliance with the contractual arbitration agreement, or alternatively dismiss this
    6   case pursuant to Federal Rules of Civil Procedure 12(b)(1) and 12(b)(3).
    7

    8
        Dated: August 24, 2018                  /s/ Richard J. Grabowski
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